345 U.S. 989
    73 S.Ct. 1151
    97 L.Ed. 1397
    Jullus ROSENBERG and Ethel Rosenberg, petitioners,v.UNITED STATES.
    No. ___.
    Supreme Court of the United States
    June 15, 1953
    
      Messrs. Emanuel H. Bloch and John F. Finerty, for petitioners.
      Acting Solicitor General Stern, for the United States.
      An application for stay of execution was filed herein on June 12, 1953. It was referred to Mr. Justice JACKSON, the appropriate Circuit Justice. Mr. Justice JACKSON referred it to the Court for consideration and action, with the recommendation 'that it be set for oral hearing on Monday, June 15, 1953, at which time the parties have agreed to be ready for argument.'
      Upon consideration of the recommendation, the Court declined to hear oral argument on the application.
      Mr. Justice FRANKFURTER and Mr. Justice BURTON, agreeing with Mr. Justice JACKSON'S recommendation, believe that the application should be set for hearing on Monday, June 15, 1953.
      Thereupon, the Court gave consideration to the application for the stay, and denies it, Mr. Justice BURTON joining in such denial.
      Mr. Justice FRANKFURTER and Mr. Justice JACKSON, believing that the application for a stay should not be acted upon without a hearing before the full Court, do not agree that the stay should be denied.
    
    
      1
      Mr. Justice BLACK is of the opinion that the Court should grant a rehearing and a stay pending final disposition of the case. But since a sufficient number do not vote for a rehearing, he is willing to join those who wish to hear argument on the question of a stay.
    
    
      2
      Mr. Justice DOUGLAS would grant a stay and hear the case on the merits, as he thinks the petition for certiorari and the petition for rehearing present substantial questions. But since the Court has decided not to take the case, 345 U.S. 965, 73 S.Ct. 949, there would be no end served by hearing oral argument on the motion for a stay. For the motion presents no new substantial question not presented by the petition for certiorari and by the petition for rehearing. 345 U.S. 1003, 73 S.Ct. 1151.
    
    